From: harsh datta <classdoctor@yahoo.com>

Reply-To: "classdoctor@yahoo.com”" <classdoctor@yahoo.com>
Date: Sunday, September 13, 2020 at 8:58 PM

To: joe <joe@fourriverslaw.com>

Subject: Fw: Nexgen Docs

An email from Suren himself.

Sent from Yahoo Mail on Android

-—-- Forwarded Message ——

From: "suren ajjarapu" = Sansurre.com=>

To: "Gajan Mahendiran" <gaj416@yahoo.com=, "Harsh Datta" <classdocton@yahoo.com>
Cc:

Sent: Mon, Dec 21, 2015 at 8:58 PM

Subject: Nexgen Docs

Hi Dr. Harsh,

lam glad to see that we came to some understanding, since you require a
corporate guarantee | have created structure of Convertible Debt, which
can be converted to equity any time as you become comfortable.

This way you can wait and see if this company is making money then you
have an option to convert at today’s value and take benefit of upside
potential. If not you have corporate grantee to pay the Principle and
interest.

Hope this structure works for you all. Please advise asap if you have any

questions.

Best Regards,
Suren Ajjarapu

 

Case 8:20-cv-02263-VMC-JSS Document 1-2 Filed 09/25/20 Page 1 of 1 PagelD 18
